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Figure 10: The front landing gear assembly was modeled in CAD according to measurements taken from Grace McGuire's
Electra Model 10.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 13 of 35

Figure 11: The front landing gear assembly model was overlaid on a photo of a crashed Electra Model 10 airplane. Photo
from http://tighar.org/Publications/TTracks/2013Vol_29/February_2013/The_Object_Formerly_Known_As_Nessie.pdf.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 14 of 35

Figure 12: Historical photograph of Amelia Earhart in front of her Electra Model 10E aircraft. The right front landing gear
assembly CAD model was overlaid on the image, demonstrating congruence.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 15 of 35
Figure 13: A closer view of the fit of the front landing gear assembly CAD model on a photograph of Amelia Earhart's aircraft.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 16 of 35
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Figure 14: Historical photograph of Amelia Earhart in front of her Electra Model 10E aircraft. The left front landing gear
assembly CAD model was overlaid on the image, demonstrating congruence.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 17 of 35
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Figure 15: A closer view of the fit of the front landing gear assembly CAD model on a photograph of Amelia Earhart's aircraft.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 18 of 35
Figure 16: A composite image of the proposed front landing gear with the cable in the same view from the 2010 1920x1080
rover video, created by Fatih Calakli; 43743.png.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 19 of 35

Figure 17: A composite image of the proposed front landing gear from the 2010 rover video (1920x1080), provided by Fatih
Calakli with a 3d model of the Electra Model 10E front landing fork assembly superimposed on the image. Given the size of
the fork assembly in the 3D model, the cable has an average diameter of approximately 0.78" with a standard deviation of
0.05".

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 20 of 35
Figure 18: A composite image of the proposed front landing gear from the 2010 rover video (1920x1080), provided by Fatih
Calakli with a 3d model of the Electra Model 10E front landing fork assembly superimposed on the image.

Earhart Case Materials Science Associates 1-800-MSA-MSA1

Page 21 of 35

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Figure 19: A closeup from the same video still of the 2010 rover video as in Figure 16 illustrates additional features on the sea
floor which are consistent with components from the Electra Model 10E aircraft. Red arrows and blue arrows point to
corresponding parts in the bracket of the Electra Model 10.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 22 of 35

Figure 20: 3D image of the front landing gear strut overlaid on the proposed front landing gear in the 2010 1920x1080 rover
video.

Earhart Case Materials Science Associates 1-800-MSA-MSA1 Page 23 of 35

Supplemental Photographs:

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Figure 21: A3D scan of a spare cylinder head from Grace McGuire's Electra Model 10 is shown.

Materials Science Associates 1-800-MSA-MSA1 Page 24 of 35

